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		2014-09-25-01 
	


  







The Supreme Court of South Carolina

  
    
      
        In the Matter of Justin John Trapp, Respondent.
        Appellate  Case No. 2014-001892
      
    
  


ORDER

The Office of Disciplinary Counsel asks this Court to  place respondent on interim suspension pursuant to Rule 17(c) of the Rules for  Lawyer Disciplinary Enforcement (RLDE) contained in Rule 413 of the South  Carolina Appellate Court Rules (SCACR).&nbsp; 
IT IS ORDERED that respondent's license to practice  law in this state is suspended until further order of this Court.
IT  IS FURTHER ORDERED that respondent is hereby enjoined from taking any action  regarding any trust, escrow, operating, and any other law office account(s)  respondent may maintain at any bank or other financial institution, including,  but not limited to, making any withdrawal or transfer, or writing any check or  other instrument on the account(s).
&nbsp;

  
    &nbsp;
    s/Jean H. Toal&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C.J.
  

Columbia, South Carolina
  September 25, 2014







